             Case 3:17-cr-00533-EMC Document 2597 Filed 04/21/22 Page 1 of 4




 1 STEPHANIE M. HINDS (CABN 154284)
   Acting United States Attorney
 2
   TOM COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 AJAY KRISHNAMURTHY (CABN 305533)
   KEVIN J. BARRY (CABN 229748)
 5 LINA Y. PENG (NYBN 5150032)
   Assistant United States Attorneys
 6
          450 Golden Gate Avenue, Box 36055
 7        San Francisco, California 94102-3495
          Telephone: (415) 436-7200
 8        FAX: (415) 436-7234
          Email: ajay.krishnamurthy@usdoj.gov
 9
   Attorneys for United States of America
10
                                   UNITED STATES DISTRICT COURT
11
                                 NORTHERN DISTRICT OF CALIFORNIA
12
                                       SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                         ) CASE NO. 17-CR-0533-EMC
                                                       )
15           Plaintiff,                                )
                                                       )
16      v.                                             ) Motion to Exclude State Court Verdict
                                                       )
17   JONATHAN JOSEPH NELSON et al,                     )
                                                       )
18           Defendants.                               )
                                                       )
19

20           The Court should exclude evidence of Nelson’s state court acquittals because (1) the acquittals
21 are not relevant, (2) any probative value “is substantially outweighed by a danger of one or more of the

22 following: unfair prejudice, confusing the issues, misleading the jury, undue delay, [and] wasting time,”

23 Fed. R. Evid. 403, and (3) evidence of the acquittals is inadmissible hearsay.

24      I.       Background
25           In 2008, Nelson was charged with a number of offenses following his participation in the
26 McNear’s assault. In 2010, he was convicted of battery, in violation of Cal. PC § 242. The jury found

27 that the state had not proven that the battery was “committed for the benefit of, at the direction of, or in

28 association with a criminal street gang,” pursuant to Cal. PC § 186.22. The jury also acquitted Nelson of

     MOTION TO EXCLUDE                                1
     17-CR-0533-EMC
              Case 3:17-cr-00533-EMC Document 2597 Filed 04/21/22 Page 2 of 4




 1 participation in a criminal street gang, in violation of Cal. PC § 186.22; assault with a deadly weapon, in

 2 violation of Cal. PC § 245(a) (1); and assault, in violation of Cal. PC § 240.

 3      II.      Argument

 4            The state court acquittals should be excluded. “In federal criminal prosecutions, courts have

 5 consistently held that evidence of an acquittal is generally inadmissible.” United States v. Young, No.

 6 CR 10-00923 (C) SJO, 2013 WL 12222473, at *1 (C.D. Cal. Nov. 22, 2013). See also Pico v. Woodford,

 7 No. EDCV 06-00890-DSFMLG, 2008 WL 4811093, at *7 (C.D. Cal. Oct. 27, 2008) (“[F]ederal courts

 8 have uniformly concluded that evidence of a prior acquittal is neither a reliable indicator that the

 9 underlying conduct did not occur, nor a useful tool for the trier of fact.”).

10            First, “evidence of a prior acquittal is not relevant because it does not prove innocence but rather

11 merely indicates that the prior prosecution failed to meet its burden of proving beyond a reasonable

12 doubt at least one element of the crime.” United States v. Kerley, 643 F.2d 299, 300–01 (5th Cir. 1981).

13 See also United States v. Thomas, 114 F.3d 228, 249 (D.C. Cir. 1997) (“[A] judgment of acquittal is not

14 usually admissible to rebut inferences drawn from evidence that was admitted.”).

15            Second, any probative value is substantially outweighed by a danger of unfair prejudice.

16 “Because the elements of the state . . . charge[s] [are] entirely different from the elements of the federal

17 charges in this case, the probative value of evidence of [Nelson’s] acquittal” are “substantially

18 outweighed by the danger of unfair prejudice, confusion of the issues and misleading the jury.” Take, for

19 example, the gang enhancement specified in Cal. PC § 186.22. The elements of that offense require the

20 prosecution to prove, among other things, that “at least two members of that same gang must have

21 participated in committing the felony offense.” JUDICIAL COUNCIL OF CALIFORNIA CRIMINAL JURY

22 INSTRUCTION (2021) 1400 (Cal. Pen. Code § 186.22). By contrast, the McNears assault remains relevant

23 here even if the United States does not satisfy that requirement. United States v. Garcia–Santana, 774

24 F.3d 528, 537 (9th Cir. 2014) (quotation omitted) (an overt act need only “manifest that the conspiracy

25 is at work”).

26            Similarly, the state offense requires the prosecution to prove a “pattern of criminal gang

27 activity,” which means that “[t]he crimes commonly benefitted a criminal street gang.” JUDICIAL

28 COUNCIL OF CALIFORNIA CRIMINAL JURY INSTRUCTION (2021) 1400 (Cal. Pen. Code § 186.22). That is

     MOTION TO EXCLUDE                                  2
     17-CR-0533-EMC
             Case 3:17-cr-00533-EMC Document 2597 Filed 04/21/22 Page 3 of 4




 1 also contrary to what the United States needs to prove here. United States v. Marino, 277 F.3d 11, 28

 2 (1st Cir. 2002) (“It is unnecessary for the pattern of racketeering to have benefitted the enterprise in any

 3 way.”).

 4           In light of these differing standards, evidence of the state court acquittals would confuse the

 5 issue, mislead the jury, and cause the United States unfair prejudice. Allowing evidence of the state

 6 court acquittals would also lead to unnecessary delay and waste of time as the United States would need

 7 to respond by explaining the difference between the cases and why Nelson’s prior acquittals have no

 8 bearing on his federal charges.

 9           Finally, the state court acquittals are also inadmissible hearsay. “Judgments of acquittal are

10 hearsay.” United States v. Irvin, 787 F.2d 1506, 1516–17 (11th Cir. 1986). “Unlike judgments of

11 conviction, which may be admitted under Rule 803(22) of the Federal Rules of Evidence for some

12 purposes, and used for impeachment under Rule 609, judgments of acquittal are not covered by an

13 exception to the rule against admission of hearsay.” Id. See also United States v. Viserto, 596 F.2d 531,

14 537 (2d Cir. 1979) (“The Federal Rules of Evidence except from the operation of the hearsay rule only

15 judgments of conviction, Rule 803(22), not judgments of acquittal.”); United States v. Sutton, 732 F.2d

16 1483, 1492 (10th Cir. 1984).

17           Against this backdrop, Nelson contends only that the acquittals have led to bias on the part of

18 Police Chief Savano. Such an argument is entirely speculative. To begin with, as Nelson acknowledged

19 during his cross-examination, Savano was not the investigating officer. Tr. 1549 (“I think the

20 investigating officer was Jason Lechleiter. Right?”). Savano was instead a percipient witness who shared

21 what he saw with the responding officers and then picked up surveillance video from McNears. Tr. 1539

22 – 1540. Moreover, when asked why he remembers the event, Savano did not say the event was

23 particularly significant to him or his police department: he testified that he remembered what happened

24 because “of the video and the supplemental report that [he] documented immediately following” the

25 assault. Tr. 1564.

26           To the extent that Nelson wanted to inquire into bias, he had many other mechanisms available.

27 He could have asked Savano, for example, about his perception of the Hells Angels; whether Savano

28 viewed the Hells Angels as a problem for the City of Petaluma; or whether Savano had worked on cases

     MOTION TO EXCLUDE                                 3
     17-CR-0533-EMC
               Case 3:17-cr-00533-EMC Document 2597 Filed 04/21/22 Page 4 of 4




 1 against the Hells Angels before he became Police Chief. He did not, and his backdoor attempt to

 2 introduce evidence of the state court acquittals should not be granted.

 3      III.      Conclusion

 4             For the foregoing reasons, the United States requests that the Court exclude evidence of Nelson’s

 5 state court acquittals.

 6

 7 DATED: April 21, 2022                                           Respectfully submitted,

 8                                                                 STEPHANIE M. HINDS
                                                                   Acting United States Attorney
 9

10
                                                                   _/s/_Ajay Krishnamurthy_____
11                                                                 KEVIN J. BARRY
                                                                   AJAY KRISHNAMURTHY
12                                                                 LINA Y. PENG
                                                                   Assistant United States Attorneys
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     MOTION TO EXCLUDE                                 4
     17-CR-0533-EMC
